                   IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION




UNITED STATES OF AMERICA                     )
                                             )
                                             )                     3:02CR190
                                             )
                                             )
                                             )
HECTOR RUBEN MCGURK                          )
                                             )
                   Defendant.                )




                                         ORDER




        Upon consideration of the defendants Motions for Payment of Witness' Fees, and after

review of the record it is accordingly ORDERED


       That the Motions for Payment of Witness' Fees are GRANTED in the amount of $926.01


to Barbara Bills pursuant to Rule 17(b) of the Federal Rules of Criminal Procedure.



       That the Clerk shall forward copies of this Order to all counsel of record.




                                                                   James C. Cacheris
                                                                 United States District Judge*

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Alexandria, Virginia
January 14,2008



* Sitting by designation from the Eastern District of Virginia
        Case 3:02-cr-00190-FDW           Document 197        Filed 01/14/08      Page 1 of 1
